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        In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-1052V
                                     Filed: February 24, 2016

* * * * * * * * * * * * * * * *                                UNPUBLISHED
JULIE HALLQUIST,              *
                              *                                Special Master Gowen
           Petitioner,        *
                              *
v.                            *                                Attorneys’ Fees and Costs.
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
           Respondent.        *
                              *
* * * * * * * * * * * * * * * *

Danielle A. Strait, Maglio Christopher & Toale, PA, Washington, D.C., for petitioner.
Adriana A. Teitel, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On October 28, 2014, Julie Hallquist (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioner alleged
that as a result of receiving an influenza vaccination on October 9, 2011, she suffered Transverse
Myelitis. Petition at ¶ 1, 3. On February 1, 2016, the parties filed a stipulation in which they agreed
to an award of compensation to petitioner. On February 2, 2016, the undersigned issued a decision
adopting the parties’ stipulation for an award. See Decision on J. Stip., filed Feb. 2, 2016.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
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        On February 22, 2016, petitioner filed an unopposed motion for attorneys’ fees and costs.
Petitioner requests a total award of attorneys’ fees and costs in the amount of $18,000.00. Motion
for Attorneys’ Fees and Costs at ¶ 3. Respondent does not object. Id. In accordance with General
Order #9, petitioner represents that she incurred out-of-pocket costs in pursuit of this claim in the
amount of $39.50. See Gen. Order 9 Statement at 1, filed Feb. 22, 2016.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. § 300
aa-15(e). Based on the reasonableness of petitioner’s application, the undersigned GRANTS the
request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney,
           Danielle A. Strait, of Maglio Christopher & Toale, PA, in the amount of
           $18,000.00; and

       (2) in the form of a check payable to petitioner only, in the amount of $39.50.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.


                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
